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The Honorable
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
MYRIAM ZAYAS
Plaintife Case 24-cv-00716 KKE
42 U.S.C.A. Section 1983 1871 Civil
e. Rights Act Fourteenth Amendment-
S How Cc . substantive and procedural due process
YLVIA FLOWARD, CHRISTIAN First Amendment
McMULLIN
AMENDED COMPLAINT
Defendants,

I spelled the name wrong of the 2nd defendant on the previous complaint. I've also added a corrected summons and
caver sheet, if those are not needed disregard this is the amended complaint.

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Addressing Rooker Feldman:

To whatever extent we have not been clear enough before, we aim to be now. Rooker-Feldman
means that federal district courts cannot review or reject state court judgments rendered before
the district court litigation began. It is, really, a straightforward application of the statutes
establishing our jurisdiction. The doctrine does not need to be a source of confusion in federal
law. Nor can it be a broad means of dismissing all claims related in one way or another to state
court litigation. Its application is narrow and—surprisingly enough—dquite simple. It bars only
“cases brought by state-court losers complaining of injuries caused by state-court judgments
rendered before the district court proceedings commenced and inviting district court review and
rejection of those judgments.” Exxon Mobil 544 U.S. at 284; see also Nicholson, 558 F.3d at
1274. The injury must be caused by the judgment itself. Period. And considering whether a
claim is “inextricably intertwined” with a state court judgment is not a second prong of the
analysis; it is merely a way of ensuring that courts do not exercise jurisdiction over the appeal of
a state court judgment simply because the claimant does not call it an appeal of a state court
judgment. Anything other than that kind of appeal can and should be addressed by other
preclusion or abstention doctrines. See, e.g., Lozman v. City of Riviera Beach, 713 F.3d 1066,
1074-80 (Lith Cir. 2013). In short, district courts should keep one thing in mind when Rooker-
Feldman is raised: it will almost never apply. Behr v. Campbell, No. 18-12842 (11th Cir. 2021)

COUNT I | PARTIES + JURISDICTION

Plaintiff MYRIAM ZAYAS is a resident of Issaquah, King County, Washington. At the time of
the incident giving rise to this complaint, Defendant Sylvia Howard a person, is and was
employed by DCYF' and based in the city of Kent, as a CPS supervisor at all relevant times, and
is liable for her acts, and omissions in her individual, and official capacities. Defendant Christian
McMullin a person, is and was assigned by DCYF to be a placement for PLAINTIFF’s child’,
and is at all relevant times liable for her acts, and omissions in her individual, and official
capacities. Any and all acts, and omissions undertaken by defendants Sylvia Howard, and
Christian McMullin were done under color of state law. This action is brought pursuant to the
provisions of 28 U.S.C.A. §§ 1331 and 1333 and 42 U.S.C.A. §§ 1983, 1985, and 1986. The
proper venue for this action is the United States District Court for the Western District of
Washington Seattle because the action or omission complained on here occurred in King County,

Washington.

'Department of Children Youth and Families Hereinafter “DCYF”
*Plaintiffs child hereinafter “AC” age 9

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CoUnrt II | CAUSE OF ACTION

Plaintiff is an individual, person and a citizen of the United States, and has a cause of action
under the 1871 Civil Rights Act under 42 USC §1983 Civil Action for Deprivation Of Rights:
Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any
State or Territory or the District of Columbia, subjects, or causes to be subjected, any citizen of
the United States, or other person within the jurisdiction thereof to the deprivation of any rights,
privileges, or immunities secured by the Constitution and laws, shall be liable to the party
injured in an action at law, suit in equity, or other proper proceeding for redress, except that in
any action brought against a judicial officer for an act or omission taken in such officer’s judicial
capacity, injunctive relief shall not be granted unless a declaratory decree was violated or
declaratory relief was unavailable. For the purposes of this section, any Act of Congress
applicable exclusively to the District of Columbia shall be considered to be a statute of the
District of Columbia. Amendment XIV (1868): Section 1. All persons born or naturalized in
the United States, and subject to the jurisdiction thereof, are citizens of the United States and of
the State wherein they reside. No State shall make or enforce any law which shall abridge the
privileges or immunities of citizens of the United States; nor shall any State deprive any person
of life, liberty, or property, without due process of law; nor deny to any person within its
Jurisdiction the equal protection of the laws. Amendment I: The First Amendment provides that
Congress make no law respecting an establishment of religion or prohibiting its free exercise. It
protects freedom of speech, the press, assembly, and the right to petition the Government for a

redress of grievances.

Count IH | FACTUAL ALLEGATIONS

1. Just like police can't arrest people for no reason, CPS can't take kids for no reason, it's a
crime. Defendant Howards attorney general will claim that defendant Howard is not a part of my
child’s case, and that she’s not assigned to my case. This is true; defendant Howard works
through other people 100% of the time. She may not be assigned but she definitely controls them

*Fourteenth Amendment

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all. Some evidence the assistant attorney general provides is likely fraudulent, he has covered
forgery before for a judge who I have sued and that has committed and covered forgery. The
assistant attorney general can make anything that doesn't exist into evidence. He has made court
hearings with my voice in it that were completely fake and fraudulent, and I was not there, I still
have these hearings and I can prove it. Just for the record.

2. On or about April 29", 2024, my 9-year-old (AC) said to the school that I physically
abused her, when I never physically abused her, she said that so that she could get back into
foster care and go to her old foster home. Sylvia Howard is always itching for new allegations to
take my kids because she hates me but for my eye color. I'm not going to go into too many
details except to say that they were false allegations.*

3. I believe that Defendant Sylvia Howard is in charge of all those who placed my child in
the home of defendant Christian McMullin on April 30", 2024, this was done intentionally.
Christian McMullin lives in the building right next to me. When I walk outside of my front door
her living room window is less than 50 feet away. Syivia Howard placed my child AC where
she can see me every single day, when I walk my dog, check my mail. I had no clue she was
there until yesterday. I found out after AC contacted my 24 yo daughter through messaging.
More than three weeks my daughter has been hidden right in front of me. This severely
undermines ny authority as 2 parent. Defendant McMullin is the mother of my child's friend. I
do not know her for any other reason. As you can see I didn't even know how her name was
spelled correctly. We text back and forth, but strictly because our kids hung out with each other
and for no other reason. Defendant McMullin has instructed AC to avoid me and ignore me, at
all costs, if she sees me outside. My daughter is not getting a ride to school she's catching the
bus, so if I take my dog outside while the kids are outside waiting for the bus she's right there.
AC ran away from me and started crying when she saw me on May 23", 2024.

4. From the outside looking in someone might say that my neighbor's “just trying to help”
me, but how does it help having my child right next door when a crime was committed against
me by these state officials. I'm being accused of something that's false. If ] didn't sign the court

order then that means I'm not in compliance with the court order and I'm not doing services so

* Zayas vs. McCoy 20-cv-00621 Zayas vs. Decamp 24-CV-00640

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why would DCYF have my child at all if I don't plan on regaining custody through doing
services? Why would they have my kid at all if DCYF can't terminate my rights? They can only
terminate my rights if I sign and agree to the court order. DCYF is committing extortion By
removing my child and assuming that will make me sign the order and do what Defendant
Howard says, and Christian McMullin is assisting them in this extortion by harboring my child.
5. I have a right not to associate with this government agency under the First Amendment of
the United States constitution's right to remain silent. I have a right to sign, or not to sign it's my
hand, my body I can make that decision. Why would Defendant McMullin keep my child, when
she knows I haven't complied in four years? DCYF is misapplying the law and not following the
law. Defendant McMullin knows how to read the law it's public, nowhere in it does it say that
they are allowed to remove my child and then wait for me to sign. Defendant McMullin knows
that I lost my two oldest children for good, while I was “trying to earn” them back from black
people who worked at DCYF. If she knew that it hasn't worked before, then why would it work
now? Why would she want to be involved with a crime? She doesn't see any proof of child
abuse, yet she assists Child Protective Services when they ask her to harbor my child, why
because they're CPS? A reasonable person would know that this would cause severe emotional
distress to me. To have my child within feet of me while I'm at home and I'm not even allowed to
visit her.

6. Sylvia has possibly terminated the rights of hundreds of Caucasian parents without brown

eyes, and they have no clue that she’s the one who did it. Because these parents see other white

people get their children back and they think it must not be racism, because look those
white people got their kid back from CPS. They don't realize that those white people: both
parents had brown eves. That's why they got their kid back. It’s eye color discrimination

they're being targeted by their eve color that's how DCYF and Defendant Howard get
away with it. The discrimination of people with less melanin is common worldwide. This eye

color thing took me 20 years to see, I used to think it was racism, until | met more than 4 families
where both parents have brown eyes and their infants have died from child abuse while in their
custody, and they kept their other children with no rights terminated. One even killed his child,
did time and is now parenting the child’s siblings. All of these parents are white, and they all

have brown eyes. Just because Sylvia employs people who are Caucasian without brown eyes

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does not mean she likes them because they're getting sued right now, and she knows that, that's
why she puts them on the front line, and hides behind them, hoping that she will not get sued.

7. Defendant McMullin violated my nghts by knowing that my child was not abused
accepting her into her home, knowing that I'm right next door telling my child to ignore and
avoid me, without a signed dependency order, she did not see any tangible proof that I abused
my child. Defendant McMullin already knew my side of the story. Defendant McMullin knows
that she lives within feet from my home. Defendant McMullin knows that I haven't had a visit
with my daughter in almost a month. Defendant McMullin was at my court hearing and was
laughing at me about it in her text messages to me, laughing at the way I yelled at the judge after
the judge committed a crime against me. Defendant McMullin can read the law that says my
signature and agreement are required on any stipulated or agreed court? order related to juvenile
dependency which is what defendant Howard is basing her allegations of child abuse on.
Defendant McMullin was and is a willing participant in the intentional torture carried out by
defendant Howard. Defendant McMullin acted with evil intent, and bad faith when she accepted
my daughter into her home. This was a choice she made; she did not have to say yes. Defendant
McMullin is not a licensed foster parent. Defendant McMullin is the one who reported me to
CPS. Defendant McMullins’ child was the one who recorded the audio of my child screaming
inside my home. I have been m touch with defendant McMullin since my child was taken and
not one time has she mentioned that my child was inside of her home. Defendant McMullin is
harboring my child illegally according to the law, not just by not having the proper court
documents but also by knowing that I never abused my child because the law provides the

definition of child abuse below:

RCW 26.44.030 (1)(d) ........ For the purposes of this subsection, "severe abuse” means
any of the following: Any single act of abuse that causes physical trauma of sufficient
severity that, if left untreated, could cause death; any single act of sexual abuse that
causes significant bleeding, deep bruising, or significant external or internal swelling; or
more than one act of physical abuse, each of which causes bleeding, deep bruising,

| significant external or internal swelling, bone fracture, or unconsciousness.

8. Sylvia Howard has 23 criminal charges from the state of Florida, Sylvia Howard placed

my child or directed those who did place her in my apartment complex, right next door to me on

FRCW 13.34.110 (1c)

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purpose. Because she wanted me to be hurt, her intentions were in bad faith and reckless
disregard of my constitutional right to equal protection, the but-for reason for her actions were
based on my eye color. Defendant Howard knows or reasonably should have known that her
actions would cause emotional distress to me, and my child that are still going on right now
today. Furthermore, if I was so dangerous why would Defendant Howard place AC right next
door? This is not protecting a child from their parents placing them right next door to the parent.
9, The following RCW means that there is no dependency these statutes have to happen
before a parent's rights are terminated, if DCYF cannot terminate my rights then there is no
dependency. A valid dependency court order only exists when I agree to it and sign it, then if I
violate it after I agree to it they can terminate my rights, as explained the following set of

Statutes:

RCW 13.34.110 (c) Prior to the entry of any stipulated® or agreed order of dependency, the
parent, guardian, or legal custodian of the child and bis or her attorney must appear before the
court and the court within available resources must inquire and establish on the record that: (1) The
parent, guardian, or legal custodian understands the terms of the order or orders he or she has
signed, including his or her responsibility to participate in remedial services as provided in any
disposition order.

(ii) The parent, guardian, or legal custodian understands that entry of the order starts a process that
could result in the filing of a petition to terminate his or ker relationship with the child within the
time frames required by state and federal law if he or she fails to comply with the terms of the
dependency or disposition orders or fails to substantially remedy the problems that necessitated
the child's placement in out-of-home care: (iii) The parent, guardian, or legal custodian
understands that the entry of the stipulated or agreed order of dependency is an admission that the
child is dependent within the meaning of RCW 13.34.030 and shall have the same legal effect as a
finding by the court that the child is dependent by at least a preponderance of the evidence, and
that the parent, guardian, or legal custodian shall not have the nght in any subsequent proceeding
for termination of parental nghts pursuant to this chapter or guardianship pursuant to chapters
(chapter] 13.36 or 11.13@ RCW to challenge or dispute the fact that the child was found to be
dependent; and (iv) The parent, guardian, or legal custodian knowingly and willingly stipulated
and agreed to and signed ihe order or orders, without duress, and without misrepresentation or
fraud by any other party. If a parent, guardian, or legal custodian fails to appear before the court
after stipulating or agreeing to entry of an order of dependency, the court may enter the order upon
a finding that the parent, guardian, or legal custodian had actual notice of the right to appear
before the court and chose not to do so.

8. Defendant Howard knows right now my son is on life support and he has been for three

months. He's 21 years old and he's not going to survive she knows that, so she took both of my

5 Means agreed.

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kids for no reason. Defendant Howard wants me to kill myself. Defendant Howards actions are a
violation of my right to due process under the substantive component, by means of oppression,
since this removal of my children and continued petty torture is ongoing for 20 years.

9. AC has done this before, and she has gotten into foster care for five days and DCYF
brought her back and that was based on lies. That was on May 16th of 2023. I filed a lawsuit for
that too, but I never got a response from the new case e-mail. I have proof that I did e-mail the
District Court a lawsuit regarding this five-day removal in 2023.

I don't think you're supposed to dismiss with prejudice if you do then I would ask that you don't
because those previous lawsuits that I filed, of which there are many, were dismissed citing
Rooker Feldman and the state case was never in my name, it was in my child's name and it still
isn't my child's name as if she were a juvenile offender because they're misapplying the juvenile

offender code on infants.

Count IV | INsuRIES & DAMAGES

Defendant McMullin was and is at all times inextricably intertwined with the state of
Washington DCYF through agents under the command of Defendant Sylvia Howard, each of
them acted under color of state law when they deprived me of my right to equal protection under
the law. My right to be free from arbitrary government action. Defendants each of them, acted
willfully, knowingly, and purposely, with the specific intent of depriving me of my rights. The
acts of defendants did in fact deny me of my rights as those rights are secured to me in the
Fourteenth Amendment to the United States Constitution and in 42 U.S.C.A. § 1983. In addition
to compensatory damages, I the plaintiff hereby make a claim for punitive damages against
defendants in an amount to be proven at trial for the willful and wanton acts and omissions of
defendant, to include violation of my civil rights, as alleged in this complaint. The acts and
omissions of defendants in this case are so gross and culpable in nature, that they constitute
reckless indifference, and wanton disregard for the law, and for the rights of others, including my
own. Defendants committed the acts, and omissions alleged in this complaint, and subjected me
to improper treatment that caused me to suffer emotional distress, embarrassment, public
humiliation that they knew were unfounded allegations, lacking tangible evidence. I will need to
change my name and move because of how many times I've had to sue this agency DCYF I will

never get a job and everything I'm saying is 100% true because I have 30,000 pages of proof in

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their employees words of racism, where DCYF employees document and the judges agreed that I
could never meet my children’s ethnic or cultural needs because my children are African
American, and I am Caucasian. Defendant McMullin was a willing participant in this unequal
protection, even though she knew that I alleged racism against them, she still was willing to
participate. Defendants’ actions should be punished, and an example should be made so that
these actions and omissions are not repeated. The recovery of punitive damages is permitted
under the federal civil rights statutes for reckless and callous indifference to the federally
protected rights of others and is thus appropriate in this case. This instance of reckless and
callous indifference to my constitutional rights should be punished through the imposition of

punitive damages so as to make an example of conduct that will not be tolerated.

I also need declaratory relief which means I need you to declare that defendants having my child
in any type of home beyond the 72 hour point that's written in RCW 13.34.060, without my
signature on that shelter care or dependency court order as required by the United States law
Revised Code of Washington 13.34.110 is a violation of my civil rights under due process,
because each one of those steps in the law above equals a valid court order whenever there are
steps in the law that equal to something and state officials are required to follow these steps
when they don't follow these steps they violate my right to procedural due process. It is required
that I sign that court order it is not optional. if there's no parent there then they mark option RCW
13.34.030(6)(c) which says the parent is not there. But I'm here so that means they can't ignore
me like I'm not here and just march on with Dependency, it's not going to happen because DCYF
is not following the law then they're breaking the law. My daughter's already been in a foster
home for 2.5 years I already went through a termination trial and I shouldn't have because they
had no right terminating my rights without a signed dependency order I went through an entire
trial for no reason my kid has already been home for two years and they're back again it's racism.
They are black and they have white puppets. They're not even allowed to do this to minorities
under the law or Native Americans it's against the law for them to do this to Native Americans.
Of course, DCYF is racist it says it in the law. What if they made a law like that for criminals
that only certain races needed probable cause, well they just did for removing children nobody
knows about it because these cases are sealed but obviously it's still racism. White children they

don't need probable cause. It's written in the law.

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(4) The legislature further finds that black and indigenous children and youth and other youth of
color are much more likely to be removed from their parents’ care, placed into foster care, and
remain in the child welfare system longer than white children. Systemic racism contributes to this
overrepresentation and to the lack of meaningful access to the court process for children and their
families. It is the intent of the legislature to ensure that any expansion of legal representation
actively combat this disproportionality." [ 2021 c 210 § 1]

Anything I may have said in this complaint that I probably said in another complaint, I would put
on the record that I'm not mentally there right now, my son is going to die this week and my
brain is getting older. But res judicata is just a doctrine it's not the law, it's not a requirement, it's
not a statute, it's not a policy, it's just a set of beliefs that's the definition of a doctrine. Also, you
should not dismiss with prejudice because my previous lawsuits were dismissed citing Rooker
Feldman which could not apply since the state case was not in my name.

My name is Myriam Zayas I am above the age of 18. I certify and declare, under penalty of
perjury, that everything stated herein, is the truth to the best of my knowledge. This court is
governed by the laws of the state of Washington in the United States. Today’s date is 05/23/2024

Pro Se Signature:
Printed Name and email:

Address:
MYRIAM ZAYAS
975 NE DISCOVERY DRIVE UNIT 212
ISSAQUAH WASHINGTON 98029

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